                  Case 22-11068-JTD              Doc 1396         Filed 05/01/23         Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                         Chapter 11

    FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

             Debtors.                                              (Jointly Administered)




             NOTICE OF WITHDRAWAL OF APPEARANCE OF DAVID M. GRABLE

             PLEASE TAKE NOTICE that Quinn Emanuel Urquhart & Sullivan, LLP, special counsel

to FTX Trading Ltd. and its affiliated debtors and debtors-in-possession (the “Debtors”), hereby

gives notice of the withdrawal of the appearance of David M. Grable of Quinn Emanuel Urquhart

& Sullivan, LLP effective immediately.

             PLEASE TAKE FURTHER NOTICE that the Debtors also request that David M. Grable

be removed from all service lists, including the Court’s CM/ECF electronic notification list

effective immediately.

             PLEASE TAKE FURTHER NOTICE that the representation of the Debtors by all of the

other attorneys of record of Quinn Emanuel Urquhart & Sullivan, LLP in these cases is unaffected

by this notice.




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      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
      4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
      of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
      Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
           Case 22-11068-JTD   Doc 1396    Filed 05/01/23     Page 2 of 2



                                          Respectfully submitted,

Dated: May 1, 2023                        LANDIS RATH & COBB LLP
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                                          -and-

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